                     Case 08-28992                              Doc 1                 Filed 10/27/08 Entered 10/27/08 16:03:24                                                               Desc Main
Official Form 1 (1/08)                                                                  Document     Page 1 of 23
                                                             United States Bankruptcy Court                                                                                                   Voluntary Petition
                                                         NORTHERN DISTRICT OF ILLINOIS
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                 (Spouse)(Last, First, Middle):


 Wilhelm, Jr. William L.
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   2686                                                                                (if more than one, state all):
 Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                     (No. & Street, City, and State):
 2124 Baldwin Lane
 Hanover Park IL
                                                                                              ZIPCODE                                                                                                            ZIPCODE
                                                                                              60133
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    DuPage                                                               Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                     (if different from street address):

 SAME
                                                                                              ZIPCODE                                                                                                            ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                  ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                  Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                   Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                              Chapter 11
     Corporation (includes LLC and LLP)                                                                                         Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                 of a Foreign Nonmain Proceeding
     Partnership                                                                                                                Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                    Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                       business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                 to insiders or affiliates) are less than $2,190,000.
    signed application for the court’s consideration certifying that the debtor is unable                             -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                            Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                     THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-            50,001-            Over
                                                                             5,000          10,000          25,000            50,000             100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
                  Case 08-28992                   Doc 1           Filed 10/27/08 Entered 10/27/08 16:03:24                                                   Desc Main
Official Form 1 (1/08)                                              Document     Page 2 of 23                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             William L. Wilhelm, Jr.
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ James Schelli, Jr.                                                        10/27/2008
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Official Form 1 (1/08)                                             Document     Page 3 of 23                                                           FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     William L. Wilhelm, Jr.
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                      attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                     granting recognition of the foreign main proceeding is attached.
 X /s/ William L. Wilhelm, Jr.
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                      10/27/2008
     10/27/2008                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ James Schelli, Jr.                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     James Schelli, Jr. 6188903
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                                and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     WEBSTER & SCHELLI, P.C.                                                    11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor or
     1730 Park Street, Suite 220                                                accepting any fee from the debtor, as required in that section. Official Form
     Address                                                                    19 is attached.


     Naperville IL                     60563
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     630.416.4500
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     10/27/2008                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.) (Required
                                                                                 by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge after
 an inquiry that the information in the schedules is incorrect.                  Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.                                         Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
The debtor requests the relief in accordance with the chapter of title           person, or partner whose Social-Security number is provided above.
11, United States Code, specified in this petition.                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                 conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
     10/27/2008                                                                  imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                 Case 08-28992
Official Form 1, Exhibit D (10/06)            Doc 1        Filed 10/27/08 Entered 10/27/08 16:03:24                                    Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
                                                   NORTHERN DIVISION

In re William L. Wilhelm, Jr.                                                                                             Case No.
                                                                                                                          Chapter 13


                                            Debtor(s)




          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                           CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
                  Case 08-28992
 Official Form 1, Exhibit D (10/06)             Doc 1        Filed 10/27/08 Entered 10/27/08 16:03:24                                     Desc Main
                                                               Document     Page 5 of 23
               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:       /s/ William L. Wilhelm, Jr.
 Date:    10/27/2008
               Case 08-28992
Rule 2016(b) (8/91)                   Doc 1      Filed 10/27/08 Entered 10/27/08 16:03:24                  Desc Main
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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            NORTHERN DIVISION
        William L. Wilhelm, Jr.                                                                     Case No.
In re
                                                                                                    Chapter 13
                                                                                         / Debtor
        Attorney for Debtor:   James Schelli, Jr.

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           3,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                  1,000.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $               2,000.00

3. $             274.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 10/27/2008                              Respectfully submitted,


                                              X /s/ James Schelli, Jr.
                        Attorney for Petitioner: James Schelli, Jr.
                                                 WEBSTER & SCHELLI, P.C.
                                                 1730 Park Street, Suite 220
                                                 Naperville IL 60563

                                               630.416.4500
                   Case 08-28992
FORM B6A (Official Form 6A) (12/07)           Doc 1       Filed 10/27/08 Entered 10/27/08 16:03:24                               Desc Main
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In re William L. Wilhelm, Jr.                                                                         ,                 Case No.
                        Debtor(s)                                                                                                                      (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s
own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of
Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as
Exempt.

                                                                                                                            Current
              Description and Location of Property                              Nature of Debtor's                                               Amount of
                                                                                                                             Value
                                                                               Interest in Property                    of Debtor's Interest,
                                                                                                                                               Secured Claim
                                                                                                        Husband--H     in Property Without
                                                                                                           Wife--W        Deducting any
                                                                                                           Joint--J     Secured Claim or
                                                                                                      Community--C          Exemption


Principal   Residence located                      at  2124 Fee Simple                                                  $ 250,000.00             $ 61,416.00
Baldwin Lane, Hanover Park,                        IL value
estimated at $250,000


Hunting Property located in Phillips WI. Co-tenancy                                                                       $ 60,000.00            $ 58,221.00
Purchased in Aug. of 2005 and paid
$66,000, owned jointly with Brian Lispe.




No continuation sheets attached                                                                  TOTAL $                 310,000.00
                                                                         (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)                        Doc 1   Filed 10/27/08 Entered 10/27/08 16:03:24                                  Desc Main
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In re William L. Wilhelm, Jr.                                                                                ,                  Case No.
                         Debtor(s)                                                                                                                                  (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
“x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the
property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                         Current
               Type of Property                   N              Description and Location of Property                                                     Value
                                                                                                                                                   of Debtor's Interest,
                                                  o                                                                            Husband--H          in Property Without
                                                                                                                                   Wife--W            Deducting any
                                                  n                                                                                                 Secured Claim or
                                                                                                                                  Joint--J
                                                  e                                                                          Community--C               Exemption


1. Cash on hand.                                      Cash on hand                                                                                               $ 40.00
                                                      Location: In debtor's possession


2. Checking, savings or other financial               Checking account at First American Bank,                                                                  $ 100.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Bloomingdale, IL
   and loan, and homestead associations, or           Location: In debtor's possession
   credit unions, brokerage houses, or
   cooperatives.



                                                      Savings account at First American Bank                                                                     $ 58.00
                                                      Location: In debtor's possession


3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                   Misc. Household goods and furninshings                                                              $ 3,000.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


5. Books, pictures and other art objects,         X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                   Necessary wearing apparel                                                                                 $ 500.00
                                                      Location: In debtor's possession


7. Furs and jewelry.                              X

8. Firearms and sports, photographic, and             Model tran collection                                                                                     $ 500.00
   other hobby equipment.
                                                      Location: In debtor's possession




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In re William L. Wilhelm, Jr.                                                                          ,     Case No.
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                         (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other           401(k) with JP Morgan                                                   $ 28,000.00
    pension or profit sharing plans. Give
    particulars.                                       Location: In debtor's possession


13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.




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                       Case 08-28992
B6B (Official Form 6B) (12/07)                    Doc 1   Filed 10/27/08 Entered 10/27/08 16:03:24                       Desc Main
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In re William L. Wilhelm, Jr.                                                                     ,              Case No.
                         Debtor(s)                                                                                                                  (if known)


                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                    (Continuation Sheet)

                                                                                                                                        Current
                 Type of Property             N            Description and Location of Property                                          Value
                                                                                                                                   of Debtor's Interest,
                                              o                                                                  Husband--H        in Property Without
                                                                                                                     Wife--W          Deducting any
                                              n                                                                                     Secured Claim or
                                                                                                                    Joint--J
                                              e                                                                Community--C             Exemption

25. Automobiles, trucks, trailers and other       2006 Ford Ranger XLT with 50,000 in good                                               $ 9,200.00
    vehicles and accessories.
                                                  condition
                                                  Location: In debtor's possession


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings, and        X
    supplies.

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not   X
    already listed. Itemize.




Page       3      of    3                                                                                   Total                        $ 41,398.00
                                                                                                                (Report total also on Summary of Schedules.)
                                                                                                      Include amounts from any continuation sheets attached.
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In re
        William L. Wilhelm, Jr.                                                                ,                  Case No.
                          Debtor(s)                                                                                                               (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                 Current
             Description of Property                                Providing each                             Claimed             Value of Property
                                                                      Exemption                               Exemption            Without Deducting
                                                                                                                                      Exemptions

Hunting Property located in                         735 ILCS 5/12-1001(b)                                          $ 302.00             $ 60,000.00
phillips WI

Principal Residence                                 735 ILCS 5/12-901                                         $ 15,000.00              $ 250,000.00

Cash on hand                                        735 ILCS 5/12-1001(b)                                            $ 40.00                   $ 40.00

Checking account at First                           735 ILCS 5/12-1001(b)                                          $ 100.00                    $ 100.00
American Bank

Savings account at First                            735 ILCS 5/12-1001(b)                                            $ 58.00                    $ 58.00
America Bank

Household goods and furnishings 735 ILCS 5/12-1001(b)                                                           $ 3,000.00                $ 3,000.00

Necessary wearing apparel                           735 ILCS 5/12-1001(a)                                          $ 500.00                    $ 500.00

Model tran collection                               735 ILCS 5/12-1001(b)                                          $ 500.00                    $ 500.00

401(k) with JP Morgan                               735 ILCS 5/12-1006                                        $ 28,000.00               $ 28,000.00

2006 Ford Ranger XLT                                735 ILCS 5/12-1001(c)                                            $ 58.00              $ 9,200.00




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B6D (Official Form 6D) (12/07)



In re William L. Wilhelm, Jr.                                                                        ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims
secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of
secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name
and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name.
See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether
the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column
labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in
more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without
Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report
the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.



    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated


              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien                                       Deducting Value
                                                   Co-Debtor




                  Account Number
                                                                                                                     Disputed



              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:
        2895                                                     2006-03-27                                                                  $ 9,142.00                             $ 0.00
Creditor # : 1                                                   Purchase Money Security
Frd Motor Cr
PO Box 542000
Omaha NE 68154

                                                        Value: $ 9,200.00

        0510
Account No:                                         X J 2005-08-29                                                                         $ 58,221.00                              $ 0.00
Creditor # : 2                                          Mortgage
Nationstar
350 Highland
Houston TX 77067

                                                                  Value:   $ 60,000.00
Account No:
        3173                                                     1993-11-01                                                                $ 61,416.00                              $ 0.00
Creditor # : 3                                                   Mortgage
Wlsfgr Hmmtg
7255 Baymeadows Wa
Jacksonville FL 32256

                                                                  Value:   $ 250,000.00
1      continuation sheets attached                                                                             Subtotal $               $ 128,779.00                                $ 0.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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In re William L. Wilhelm, Jr.                                                                        ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                              (Continuation Sheet)

                Creditor's Name and                           Date Claim was Incurred, Nature                                          Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                            Without                   Portion, If Any




                                                                                                                     Unliquidated
              Including ZIP Code and




                                                                                                                     Contingent
                                                              Value of Property Subject to Lien                                        Deducting Value
                                                  Co-Debtor

                  Account Number




                                                                                                                     Disputed
              (See Instructions Above.)                       H--Husband                                                                  of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:   3173
Representing:                                                    Codilis & Associates, P.C.
                                                                 15W030 N. Frontage Road #100
Wlsfgr Hmmtg                                                     Willowbrook IL 60527


                                                                 Value:

Account No:




                                                                 Value:
Account No:




                                                                 Value:

Account No:




                                                                 Value:
Account No:




                                                                 Value:
Account No:




                                                                 Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                              Subtotal $                           $ 0.00                          $ 0.00
Holding Secured Claims                                                                                       (Total of this page)
                                                                                                                      Total $            $ 128,779.00                                $ 0.00
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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   In re William L. Wilhelm, Jr.                                                                                            ,                               Case No.
                              Debtor(s)                                                                                                                                      (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
   claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
   and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
   filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
   chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
   child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
   appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
   marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
   contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
   disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
   box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
   priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
   report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
   entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
   debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
          U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
          of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
          were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
          Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
          drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                      No continuation sheets attached
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In re William L. Wilhelm, Jr.                                                                                    ,                                   Case No.
                           Debtor(s)                                                                                                                                                                    (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials
and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

        Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain
Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                          Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,
                                                       Co-Debtor




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          1279
Account No:                                                            2007-01-25                                                                                                    X                 $ 716.00
Creditor # : 1
10 Peoples Gas
c/o Harris
600 W JACKSON
Chicago IL 60661

Account No:     1279
Representing:                                                          HARRIS
                                                                       600 W JACKSON
10 Peoples Gas
                                                                       CHICAGO IL 60661



          2362
Account No:                                                            2008-08-08                                                                                                    X                 $ 285.00
Creditor # : 2
10 Price Electric Co
c/o Resource Management
2211 EAST CLAIREMO
Eau Claire WI 54701

Account No:     2362
Representing:                                                          RESRCE MGMT
                                                                       2211 EAST CLAIREMO
10 Price Electric Co                                                   EAU CLAIRE WI 54701



     2 continuation sheets attached                                                                                                                 Subtotal $                                      $ 1,001.00
                                                                                                                                                                   Total $
                                                                      (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                           and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re William L. Wilhelm, Jr.                                                                                      ,                                   Case No.
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          7906
Account No:                                                             2006-02-01                                                                                                     X              $ 1,061.00
Creditor # : 3
Aaron Sales & Lease Ow
1015 Cobb Place Blvd Nw
Kennesaw GA 30144


          5425
Account No:                                                         H   2008-06-01                                                                                                                        $ 86.00
Creditor # : 4
At T
c/o Enhanced Recovery
8014 BAYBERRY RD
Jacksonville FL 32256

Account No:     5425
Representing:                                                           ENHANCED RECOVERY CORP
                                                                        8014 BAYBERRY RD
At T
                                                                        JACKSONVILLE FL 32256



          1222
Account No:                                                             2000-08-22                                                                                                                    $ 4,839.00
Creditor # : 5                                                          Credit Card Purchases
Cap One
PO Box 30281
Salt Lake City UT 84130


          1635
Account No:                                                             2008-06-25                                                                                                                       $ 318.00
Creditor # : 6                                                          Credit Card Purchases
Hsbc Bank
PO Box 5253
Carol Stream IL 60197


          6320
Account No:                                                         H   2006-02-21                                                                                                                       $ 119.00
Creditor # : 7
Spring Green Lawn Ca
c/o Collections
700 LONGWATER DRIV
Norwell MA 02061




Sheet No.      1 of        2 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 6,423.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                        (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                             and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re William L. Wilhelm, Jr.                                                                                     ,                                   Case No.
                           Debtor(s)                                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     6320
Representing:                                                           COLLECTION
                                                                        700 LONGWATER DRIV
Spring Green Lawn Ca
                                                                        NORWELL MA 02061



Account No:




Account No:




Account No:




Account No:




Account No:




Sheet No.      2 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                           $ 0.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                    $ 7,424.00
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re William L. Wilhelm, Jr.                                                                                  / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




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In re William L. Wilhelm, Jr.                                                                      / Debtor          Case No.
                                                                                                                                                  (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr.
P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                                 Name and Address of Creditor

Brian Lipse                                                                  Nationstar
9597 Inverness Dr                                                            350 Highland
Huntley IL 60142                                                             Houston TX 77067




                                                                                                                                        Page     1 of      1
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                                               UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF ILLINOIS
                                                       NORTHERN DIVISION
   In re William L. Wilhelm, Jr.                                                                                                     Case No.
                                                                                                                                     Chapter 13


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine
the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter
7, 11, or 13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $           310,000.00

 B-Personal Property
                                                Yes                 3           $             41,398.00

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 2                                              $           128,779.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 1                                              $                      0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 3                                              $              7,424.00

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 1                                                                                 $                      0.00

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $                      0.00

                                  TOTAL                           15             $           351,398.00             $           136,203.00
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                                                UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF ILLINOIS
                                                       NORTHERN DIVISION
   In re William L. Wilhelm, Jr.                                                                                                 Case No.
                                                                                                                                 Chapter 13



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   0.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   0.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   4,124.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   7,424.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   7,424.00
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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                          NORTHERN DIVISION

In re William L. Wilhelm, Jr.                                                             Case No.
                                                                                          Chapter 13
                                                                            / Debtor
    Attorney for Debtor:   James Schelli, Jr.




                                       VERIFICATION OF CREDITOR MATRIX



                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date:                                                              /s/ William L. Wilhelm, Jr.
                                                                   Debtor
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10 Peoples Gas                       Frd Motor Cr                     William L. Wilhelm, Jr.
c/o Harris                           PO Box 542000                    2124 Baldwin Lane
600 W JACKSON                        Omaha, NE 68154                  Hanover Park, IL 60133
Chicago, IL 60661


10 Price Electric Co                 HARRIS
c/o Resource Management              600 W JACKSON
2211 EAST CLAIREMO                   CHICAGO, IL 60661
Eau Claire, WI 54701


Aaron Sales & Lease Ow               Hsbc Bank
1015 Cobb Place Blvd Nw              PO Box 5253
Kennesaw, GA 30144                   Carol Stream, IL   60197



At T                                 James Schelli, Jr.
c/o Enhanced Recovery                1730 Park Street, Suite 220
8014 BAYBERRY RD                     Naperville, IL 60563
Jacksonville, FL 32256


Brian Lipse                          Mr William Neary
9597 Inverness Dr                    219 South Dearborn Street
Huntley, IL 60142                    Room 873
                                     Chicago, IL 60604


Cap One                              Nationstar
PO Box 30281                         350 Highland
Salt Lake City, UT   84130           Houston, TX 77067



Codilis & Associates, P.C.           RESRCE MGMT
15W030 N. Frontage Road #100         2211 EAST CLAIREMO
Willowbrook, IL 60527                EAU CLAIRE, WI 54701



COLLECTION                           Spring Green Lawn Ca
700 LONGWATER DRIV                   c/o Collections
NORWELL, MA 02061                    700 LONGWATER DRIV
                                     Norwell, MA 02061


ENHANCED RECOVERY CORP               Wlsfgr Hmmtg
8014 BAYBERRY RD                     7255 Baymeadows Wa
JACKSONVILLE, FL 32256               Jacksonville, FL 32256
